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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

              Plaintiffs,

        v.                                   Case No. 1:18-cv-00950-LO-JFA

  COX COMMUNICATIONS, INC., et al.,

              Defendants.



      COX’S REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF ITS
       OBJECTIONS TO MAGISTRATE JUDGE’S NON-DISPOSITIVE RULING
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        Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”) submit

 this memorandum of law in further support of their Objections to Magistrate Judge John F.

 Anderson’s February 27, 2019 Order (ECF No. 113) to the extent it denied Cox’s attempts to seal

 certain exhibits to Plaintiffs’ discovery motions that constituted Cox’s highly confidential and

 commercially sensitive information.

 I.     INTRODUCTION

        The three exhibits1 that Cox seeks to file under seal, two internal Cox procedures

 documents and a portion of one internal Cox email, contain confidential and commercially

 sensitive information that could assist Internet users in circumventing Cox’s procedures in

 responding to notices of copyright infringement and Internet security threats. See Objs. at 4.

 Because Cox’s countervailing interests in protecting the information within the exhibits outweigh

 the public’s right of access to the information filed in conjunction with a non-dispositive discovery

 motion, the exhibits should remain under seal. Hopeman Bros., Inc. v. Cont’l Cas. Co., No.

 416CV00187MSDLRL, 2018 WL 2426272, at *1 (E.D. Va. Feb. 7, 2018) (sealing exhibits

 because they were subject to “confidentiality obligation[s] under the Protective Order” and

 contained information not generally available to the public). Plaintiffs’ argument to the contrary—

 that the documents can never be sealed because they were shown at a public trial—is factually

 inaccurate and was not the basis for the Magistrate’s decision against sealing the exhibits. For the

 reasons set forth herein and in Cox’s Objections, Cox respectfully objects to portions of the

 Magistrate’s Order and requests that the Court seal certain of the documents at issue in the manner

 outlined in its Objections.


 1
   Cox is seeking to seal PX 1330 in its entirety, PX 1456 in its entirety, and portions of PX 1340.
 Even though Plaintiffs submitted 13 pages of Exhibit PX 1330 (see ECF No. 105-3), it still contains
 information that is irrelevant to their claims and discloses sensitive portions of Cox’s business
 practices that is undisclosed to its subscribers and the public.


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 II.    JUDGE ANDERSON MISAPPLIED THE STANDARD FOR THE PUBLIC’S
        RIGHT OF ACCESS

        A.      Prior Public Disclosure of these Three Exhibits Cannot Serve as the Basis to
                Deny Cox’s Request to Seal Here

        Judge Anderson’s decision not to seal the three exhibits was based on the notion that

 “significant portions” of all of the exhibits were quoted or discussed by the Court in its public

 opinions in BMG Rights Management v. Cox Communications, Inc., Case No. 1:14cv1611 (“the

 BMG litigation”). See ECF No. 113 (“Order”). However, these three particular exhibits were not

 quoted in any of the public BMG orders2 – a point which Plaintiffs concede. Instead Plaintiffs

 argue that the exhibits permanently lose their confidential protection because they were shown at

 the BMG trial despite there being no evidence that anyone other than the judge, jury, witnesses,

 and counsel saw these exhibits. Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597–98 (1978)

 (the public’s right to access the judicial record is “not absolute”). Therefore, Cox respectfully

 submits that Judge Anderson erred in denying Cox’s requests to seal all of the documents at issue

 with a blanket ruling that all of the documents were revealed in public opinions in the BMG

 litigation, when that was not the case for the three exhibits that are the subject of Cox’s Objections.

        B.      Because the Exhibits Were Filed in Connection with a Non-Dispositive
                Motion, Cox Did Not Have the Burden to Demonstrate a “Compelling
                Governmental Interest” in Sealing

        The district court can modify a magistrate’s order if it is contrary to law because of a

 misapplication of the “relevant statutes, case law, or rules of procedure.” Attard Indus., Inc. v.

 U.S. Fire Ins. Co., No. 1:10CV121 AJT/TRJ, 2010 WL 3069799, at *1 (E.D. Va. Aug. 5, 2010).

 Here, Judge Anderson erred in applying the more stringent First Amendment standard instead of

 that under the common law. See ECF 91. The First Amendment standard requires a “compelling


 2
  Cox is not seeking to seal the portion of PX 1340 that was quoted by the BMG court in its order.
 See BMG Rights Mgmt., 199 F. Supp. 3d at 967.


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 governmental interest” to restrict the public’s right of access whereas the common law standard

 requires a showing of “countervailing interests [which] heavily outweigh the public interests in

 access.” Va. Dep’t of State Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004). The First

 Amendment standard applies to those documents “filed in support of dispositive motions in civil

 cases” and should not apply here, where Plaintiffs submitted the exhibits in connection with a non-

 dispositive discovery motion. Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir.

 1988) (extending the First Amendment standard to “documents filed in connection with a summary

 judgment motion in a civil case”) (emphasis added); In re Policy Mgmt. Sys. Corp., 67 F.3d 296

 (4th Cir. 1995) (holding that “the mere filing of a document with a court does not render the

 document judicial”); Wash. Post, 386 F.3d at 580 (“we have never held that the public has a First

 Amendment right of access to a pretrial hearing on a non-dispositive civil motion or to the

 transcript of such a hearing”).

         Plaintiffs argue that the First Amendment test automatically applies to the exhibits in

 question because they were shown at trial. However, this was not the basis for Judge Anderson’s

 decision. Judge Anderson applied the First Amendment standard based upon the erroneous

 conclusion that the exhibits were previously used to support dispositive motions in the BMG

 litigation. As Cox detailed in its Objections (ECF No. 117), this is not factually accurate. Plaintiffs

 sought to file the three exhibits in connection with discovery motions, which are non-dispositive,

 and thus the common law standard should apply. See ECF No. 91 at 1; Wash. Post, 386 F.3d at

 580 (“we have never held that the public has a First Amendment right of access to a pretrial hearing

 on a non-dispositive civil motion or to the transcript of such a hearing”). Thus, the common law

 standard should apply and Cox does not have to demonstrate a compelling governmental interest

 to seal the exhibits.




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         C.      Cox’s Interest in Protecting Its Proprietary Information Outweighs Any
                 Public Interest in Access to the Exhibits

         As the Supreme Court has found, although the public has a right to access judicial records,

 the right “is not absolute.” Nixon, 435 U.S. at 597–98. The district court has the discretion to

 consider the surrounding facts and limit the public’s access to the documents. Id. In fact, courts

 have denied the common law right to inspection where documents serve “as sources of business

 information that might harm a litigant’s competitive standing” as they would here. Id. at 598.

 Plaintiffs erroneously limit the factors a court can consider when conducting a balancing test to

 three factors; however, as noted by the Supreme Court, the factors are not so restrictive. Id. at

 598–99 (“It is difficult to distill from the relatively few judicial decisions . . . all the factors to be

 weighed in determining whether access is appropriate”); Benedict v. Hankook Tire Co. Ltd., 323

 F. Supp. 3d 747, 760–61 (E.D. Va. 2018) (listing three factors the court “may consider” when

 conducting a common law balancing test).

         Even assuming the three factors Plaintiffs listed are the only factors a court can consider,

 they still favor sealing the exhibits.3 Specifically, the first factor favors Cox because it is probable

 that the records would be sought by the public for an improper purpose – i.e., circumventing Cox’s

 procedures for responding to notices of copyright infringement and other threats to Cox’s system.

 The second factor is irrelevant because there is no evidence that the public is seeking access to

 Cox’s documentation in order to understand history. Furthermore, it is unreasonable for Plaintiffs

 to suggest that the BMG trial is an “important historical event” akin to an event like the Watergate

 investigation. See Nixon, 435 U.S. at 606 (noting that even though the Watergate investigation


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   The three factors Plaintiffs included in their Opposition are: “[1] whether the records are sought
 for improper purposes, such as promoting public scandals or unfairly gaining a business advantage;
 [2] whether release would enhance the public’s understanding of an important historical event; and
 [3] whether the public has already had access to the information contained in the records.”
 Benedict, 323 F. Supp. 3d at 754.


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 was an important historical occurrence, the common law right of access to judicial records did not

 apply to the recordings used in the investigation). Lastly, the third factor is inapplicable given that

 Plaintiffs have not shown that the public “already had access” to these exhibits, especially when

 considering that the exhibits were not quoted in any of the public BMG orders. Benedict, 323 F.

 Supp. 3d at 754.

        When the Court conducts its balancing test here, it should consider that the information

 sought is highly confidential and commercially sensitive. See, e.g., United States v. Nixon, 418

 U.S. 683, 714-16 (1974) (recognizing confidential nature of Presidential communication); In re

 Iowa Freedom of Info. Council, 724 F.2d 658, 661 (8th Cir. 1983) (substantial damage to property

 rights in trade secrets justified closure under the First Amendment standard); Zenith Radio Corp.

 v. Matsushita Elec. Indus. Co., 529 F. Supp. 866, 907 (E.D. Pa. 1981) (sensitive commercial

 information was sufficient for sealing of documents).

        Specifically, PX 1330 contains proprietary business information undisclosed to Cox’s

 subscribers and the public. It also details how Cox responds to alleged copyright infringement and

 other complaints and would provide customers with information about how to circumvent Cox’s

 abuse procedures, thereby making it susceptible to security threats. Additionally, PX 1340

 contains screenshots and excerpts of information from Cox’s proprietary CATS system. Likewise,

 PX 1456 discloses proprietary CATS information. It is a Cox abuse ticket, which shows a detailed

 history of Cox’s responses to a particular IP address, including its individualized responses to

 notifications of alleged copyright infringement.

        Plaintiffs’ argument against sealing is predicated entirely on the exhibits’ purported

 disclosure to the public during the BMG trial. Even if an exhibit was shown at trial, the common

 law right of access to trial exhibits is conditional. See, e.g., Nixon, 435 U.S. at 598 (“right to




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 inspect and copy judicial records is not absolute”); In re Reporters Comm. for Freedom of the

 Press, 773 F.2d 1325, 1333 (D.C. Cir. 1985) (“there is a tradition of public access to court records,

 and that right is not absolute”). Indeed, the presumption of openness is mitigated by the court’s

 discretion and specific facts of the case. United States v. Mitchell, 551 F.2d 1252, 1260 (D.C. Cir.

 1976), rev’d on other grounds sub nom. (“[b]ecause no clear rules can be articulated as to when

 judicial records should be closed to the public, the decision to do so necessarily rests within the

 sound discretion of the courts, subject to appellate review for abuse”); In re Reporters, 773 F.2d

 at 1333 (“every court has supervisory power over its own records and files”). Notably, a court

 may deny the public right of access where court files contain “sources of business information that

 might harm a litigant’s competitive standing,” as it would here. Id. (citing Schmedding v. May, 85

 Mich. 1, 5–6, 48 N.W. 201, 202 (1891), and Flexmir, Inc. v. Herman, 40 A.2d 799, 800 (N.J. Ch.

 1945)).

           Even if the higher First Amendment standard applied, Cox’s interests in protecting its

 sensitive and confidential information still outweigh the public right of access. Notably, courts

 have commonly held that a compelling private interest, and not just a compelling government

 interest, can outweigh a public right of access. Iowa Freedom of Info. Council, 724 F.2d at 664

 (“[w]here only private commercial interests or damage are involved, we think the law justifies

 [sealing portions of a contempt hearing transcript discussing trade secrets] to avoid the destruction

 of these property rights”); Level 3 Commc’ns, LLC v. Limelight Networks, Inc., 611 F. Supp. 2d

 572, 580 (E.D. Va. 2009) (“certain such private interests might also implicate higher values

 sufficient to override (or, in an alternative mode of analysis, to except the proceeding or materials

 at issue from) the First Amendment presumption of public access.”). In this scenario, an overriding

 interest can include “the content of the information at issue,” like protecting a trade secret. See




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 Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1073 (3d Cir. 1984); Zenith Radio Corp., 529 F.

 Supp. at 890 (“an interest in safeguarding a trade secret may overcome a presumption of openness”

 even when otherwise guaranteed by the First Amendment right of access).

        Here, as set forth above, Cox’s interest in protecting the three exhibits overrides any public

 presumption of access because these exhibits contain Cox’s highly confidential and commercially

 sensitive information. Such information, if disclosed, would harm Cox’s competitive standing,

 expose proprietary CATS information, and threaten Cox’s network security.

 III.   CONCLUSION

        For all of the reasons set forth herein, Cox respectfully objects to Judge Anderson’s Order

 and requests that the Court seal exhibits and portions of exhibits as set forth in Cox’s Objections

 and previously filed Proposed Order.



 Dated: April 2, 2019                                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on April 2, 2019, a copy of the foregoing COX’S REPLY MEMORANDUM

 OF LAW IN FURTHER SUPPORT OF ITS OBJECTIONS TO MAGISTRATE JUDGE’S NON-

 DISPOSITIVE RULING was filed electronically with the Clerk of Court using the ECF system,

 which will send notifications to ECF participants.



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